           Case 1:21-cr-00140-JDB Document 113-1 Filed 02/07/24 Page 1 of 10
  USACN 535.03 *                 INMATE PROFILE                 *     02-05-2024
PAGE 001                                                              17:22:31
             24991-509             REG
REGNO: 24991-509                    FUNCTION: PRT DOB/AGE.:
NAME.: BROCK, LARRY RENDALL                        R/S/ETH.: W/M/O      WALSH: NO
RSP..: SPG-SPRINGFIELD USMCFP                      MILEAGE.: 377 MILES
PHONE:                      FAX: 417-837-1717
 PROJ REL METHOD: FIRST STEP ACT RELEASE           FBI NO..: 60199PG8
 PROJ REL DATE..: 12-03-2024                       INS NO..:
 HOME DETN ELIG.: 09-22-2024                       SSN.....: 459533700
 FSA COND REL DT: 08-20-2024       PSYCH: NO       DETAINER: NO         CMC..: YES
OFFN/CHG RMKS: 21-140 (JDB);OBSTRUCT OF AN OFFICIAL PROCEEDING,DISORDERLY
OFFN/CHG RMKS: CONDUCT,PARADE,PICKETING IN A CAPITOL BUILDING; 24M/24M SRT
  FACL CATEGORY   - - - - - CURRENT ASSIGNMENT - - - - - - EFF DATE TIME
  SPG ADM-REL     A-DES       DESIGNATED, AT ASSIGNED FACIL 05-29-2023 1406
  SPG ST BILLING NBL DC       NOT BILBL DISTRICT OF COLUMBIA 05-29-2023 1406
  SPG CARE LEVEL CARE1        HEALTHY OR SIMPLE CHRONIC CARE 06-05-2023 0938
  SPG CARE LEVEL CARE1-MH     CARE1-MENTAL HEALTH             06-05-2023 0807
  SPG COR COUNSL CAD C        M. BUCKMASTER, EXT. 1597        05-30-2023 1147
  SPG CASE MGT    BIR CERT N BIRTH CERTIFICATE - NO           12-06-2023 1206
  SPG CASE MGT    CMU REF D CMU REFERRAL DENIED               11-24-2023 0931
  SPG CASE MGT    DRVE LIC Y DRIVERS LICENSE - YES            06-09-2023 1024
  SPG CASE MGT    RPP NEEDS RELEASE PREP PGM NEEDS            06-09-2023 0956
  SPG CASE MGT    RPP UNT C RELEASE PREP UNIT PGM COMPLETE 12-06-2023 1156
  SPG CASE MGT    SSN CARD N SOCIAL SECURITY CARD - NO        06-09-2023 1024
  SPG CASE MGT    VET P/S Y PARENT/SPOUSE VETERAN - YES       06-09-2023 1024
  SPG CASE MGT    VETERAN Y VETERAN - YES                     06-09-2023 1024
  SPG CASE MGT    V94 COA913 V94 CURR OTHER ON/AFTER 91394 06-09-2023 0955
  SPG CASE MGT    WA NO HIST NO WALSH ACT OFFENSE HISTORY     03-24-2023 1037
  SPG CORR SVCS REQD MONTR REQUIRED MONITORING                03-28-2023 0910
  SPG CASEWORKER CAD C        R. CARPENTER, EXT. 1247         05-30-2023 1147
  SPG CUSTODY     IN          IN CUSTODY                      03-24-2023 1034
  SPG DOCTOR      RSWORDS/NK RSWORDS/NK                       06-01-2023 1058
  SPG DRUG PGMS ED NONE       DRUG EDUCATION NONE             06-09-2023 0955
  SPG DESIG/SENT DELTA        TEAM DELTA                      03-24-2023 1036
  SPG DESIG/SENT FDCD YES     FDCD-FULLY COMPLIED W/JUD REC 03-29-2023 1443
  SPG DESTNATION CDA 6QM      VOL OF AMERICA FT WORTH TX      07-23-2024 2125
  SPG EDUCATION ACT WRKADV ADVANCED ACT WORK KEYS TESSERA 06-09-2023 1344
  SPG EDUC INFO ESL HAS       ENGLISH PROFICIENT              06-02-2023 1334
  SPG EDUC INFO GED HAS       COMPLETED GED OR HS DIPLOMA     06-02-2023 1334
  SPG FIN RESP    COMPLT      FINANC RESP-COMPLETED           07-12-2023 1003
  SPG FIRST STEP AWARD        EBRR INCENTIVE AWARD            12-06-2023 1204
  SPG FIRST STEP FTC ELIG     FTC-ELIGIBLE - REVIEWED         06-09-2023 0955
  SPG FIRST STEP N-ANGER N NEED - ANGER/HOSTILITY NO          12-06-2023 1104
  SPG FIRST STEP N-ANTISO N NEED - ANTISOCIAL PEERS NO        12-06-2023 1104
  SPG FIRST STEP N-COGNTV Y NEED - COGNITIONS YES             12-06-2023 1104
  SPG FIRST STEP N-DYSLEX N NEED - DYSLEXIA NO                06-02-2023 1418
  SPG FIRST STEP N-EDUC N     NEED - EDUCATION NO             12-06-2023 1104
  SPG FIRST STEP N-FIN PV Y NEED - FINANCE/POVERTY YES        12-06-2023 1104
  SPG FIRST STEP N-FM/PAR Y NEED - FAMILY/PARENTING YES       12-06-2023 1104
  SPG FIRST STEP N-M HLTH N NEED - MENTAL HEALTH NO           12-06-2023 1104
  SPG FIRST STEP N-MEDICL N NEED - MEDICAL NO                 12-06-2023 1104
  SPG FIRST STEP N-RLF N      NEED - REC/LEISURE/FITNESS NO 12-06-2023 1104

G0002       MORE PAGES TO FOLLOW . . .
           Case 1:21-cr-00140-JDB Document 113-1 Filed 02/07/24 Page 2 of 10
  USACN 535.03 *                 INMATE PROFILE               *     02-05-2024
PAGE 002 OF 002                                                     17:22:31
             24991-509             REG
REGNO: 24991-509                    FUNCTION: PRT DOB/AGE.: 02-28-1967 / 56
NAME.: BROCK, LARRY RENDALL                       R/S/ETH.: W/M/O     WALSH: NO
RSP..: SPG-SPRINGFIELD USMCFP                     MILEAGE.: 377 MILES
PHONE: 417-862-7041         FAX: 417-837-1717
  FACL CATEGORY   - - - - - CURRENT ASSIGNMENT - - - - - - EFF DATE TIME
  SPG FIRST STEP N-SUB AB N NEED - SUBSTANCE ABUSE NO        12-06-2023 1104
  SPG FIRST STEP N-TRAUMA N NEED - TRAUMA NO                 12-06-2023 1104
  SPG FIRST STEP N-WORK N     NEED - WORK NO                 12-06-2023 1104
  SPG FIRST STEP R-MIN        MINIMUM RISK RECIDIVISM LEVEL 12-06-2023 1104
  SPG LEVEL       LOW         SECURITY CLASSIFICATION LOW    03-29-2023 1442
  SPG MED DY ST NO PAPER      NO PAPER MEDICAL RECORD        06-01-2023 1215
  SPG MED DY ST REG DUTY      NO MEDICAL RESTR--REGULAR DUTY 06-28-2023 1237
  SPG MED DY ST YES F/S       CLEARED FOR FOOD SERVICE       06-28-2023 1237
  SPG PGM REVIEW JUN          JUNE PROGRAM REVIEW            06-03-2024 1209
  SPG PT OTHER    MON SM G W MONEY SMART GENERAL POP WAIT    06-26-2023 0852
  SPG QUARTERS    W01-050L    HOUSE W/RANGE 01/BED 050L      12-14-2023 1104
  SPG RELIGION    PROTESTANT PROTESTANT                      06-02-2023 1044
  SPG SECOND RSP UNK          USM UNKNOWN                    05-29-2023 1406
  SPG STATUS      WC 06/17    WORK CADRE RSWORDS/KENNEY      06-01-2023 1103
  SPG UNIT MGR    CADRE       A. DIIORIO, EXT. 1453          10-07-2023 1347
  SPG UNIT        1 GP        UNIT 1 - CADRE                 08-16-2023 1444
  SPG WAITNG LST A&O COMP     COMPLETED A&O                  06-06-2023 1322
  SPG WAITNG LST CIMCOMPLT CIM PACKET COMPLETED              06-23-2023 1452
  SPG WAITNG LST GTE PS D-W GATE PASS DENIED-WARDEN          06-20-2023 1527
  SPG WRK DETAIL FOOD SVC     FOOD SERVICE DEPARTMENT        01-12-2024 0850




G0000       TRANSACTION SUCCESSFULLY COMPLETED
             Case 1:21-cr-00140-JDB Document 113-1 Filed 02/07/24 Page 3 of 10
  USACN 531.01 *                  INMATE HISTORY                *     02-05-2024
PAGE 001 OF 001 *                   WRK DETAIL                  *     17:22:56

 REG NO..: 24991-509 NAME....: BROCK, LARRY RENDALL
 CATEGORY: WRK       FUNCTION: PRT         FORMAT:

FCL     ASSIGNMENT DESCRIPTION                     START DATE/TIME STOP DATE/TIME
SPG     FOOD SVC   FOOD SERVICE DEPARTMENT         01-12-2024 0850 CURRENT
SPG     UNASSG     UNASSIGNED WORK                 11-28-2023 1235 01-12-2024 0850
SPG     ADM DET    ADMINISTRATIVE DETENTION        07-25-2023 0915 11-28-2023 1235
SPG     EDUCATION EDUCATION DEPARTMENT             06-30-2023 1207 07-25-2023 0915
SPG     A&O        ADMISSION & ORIENTATION         05-29-2023 1406 06-30-2023 1207




G0000         TRANSACTION SUCCESSFULLY COMPLETED
           Case 1:21-cr-00140-JDB Document 113-1 Filed 02/07/24 Page 4 of 10
  USACN         *            INMATE EDUCATION DATA           *       02-05-2024
PAGE 001 OF 001 *                  TRANSCRIPT                *       17:21:41

REGISTER NO: 24991-509      NAME..: BROCK                        FUNC: PRT
FORMAT.....: TRANSCRIPT     RSP OF: SPG-SPRINGFIELD USMCFP

--------------------------- EDUCATION INFORMATION ---------------------------
FACL ASSIGNMENT DESCRIPTION                   START DATE/TIME STOP DATE/TIME
SPG ESL HAS     ENGLISH PROFICIENT            06-02-2023 1334 CURRENT
SPG GED HAS     COMPLETED GED OR HS DIPLOMA   06-02-2023 1334 CURRENT

----------------------------- EDUCATION COURSES -----------------------------
SUB-FACL   DESCRIPTION                    START DATE STOP DATE EVNT AC LV HRS
SPG CAD    ADVANCED ACT WORK KEYS TESSERA 06-09-2023 CURRENT
SPG CAD    ROP DAY 3                      12-15-2023 12-15-2023  P C P      5
SPG CAD    ROP DAY 2                      12-13-2023 12-13-2023  P C P      6
SPG CAD    RPP2 INFORMATION MOCK JOB FAIR 06-20-2023 06-26-2023  P C P      2
SPG CAD    ACT WORK KEYS                  06-02-2023 06-22-2023  P C P     30




G0000       TRANSACTION SUCCESSFULLY COMPLETED
           Case 1:21-cr-00140-JDB Document 113-1 Filed 02/07/24 Page 5 of 10
  USACN         *           INMATE DISCIPLINE DATA           *     02-05-2024
PAGE 001 OF 001 *     CHRONOLOGICAL DISCIPLINARY RECORD      *     17:21:03

REGISTER NO: 24991-509 NAME..: BROCK, LARRY RENDALL
FUNCTION...: PRT       FORMAT: CHRONO    LIMIT TO ___ MOS PRIOR TO 02-05-2024

-------------------------------------------------------------------------------
REPORT NUMBER/STATUS.: 3830732 - SANCTIONED INCIDENT DATE/TIME: 07-21-2023 0701
DHO HEARING DATE/TIME: 10-13-2023 1002            DHO REPT DEL: 11-08-2023 0705
FACL/CHAIRPERSON.....: SPG/R. GICONI
APPEAL CASE NUMBER(S): 1182378
REPORT REMARKS.......: THE GREATER WEIGHT OF THE EVIDENCE DOES SUPPORT THE
                       CHARGE AS WRITTEN
   299 DISRUPTIVE CONDUCT-HIGH - FREQ: 1
        DIS GCT    / 27 DAYS / CS
        COMP:010 LAW:P   DISALLOW 27 DAYS OF GOOD CONDUCT TIME
                         299 MOST LIKE 296
        LP COMM    / 120 DAYS / CS / SUSPENDED 180 DAYS
        COMP:    LAW:    120 DAYS LOSS OF COMMISSARY SUSPENDED 180 DAYS CC
                         299 MOST LIKE 296
        LP EMAIL   / 120 DAYS / CS / SUSPENDED 180 DAYS
        COMP:    LAW:    120 DAYS LOSS OF EMAIL SUSPENDED 180 DAYS CC
                         299 MOST LIKE 296
        LP VISIT   / 120 DAYS / CS / SUSPENDED 180 DAYS
        COMP:    LAW:    120 DAYS LOSS OF VISIT SUSPENDED 180 DAYS CC
                         299 MOST LIKE 296




G0005       TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESIRED
           Case 1:21-cr-00140-JDB Document 113-1 Filed 02/07/24 Page 6 of 10
  USACN         *      INMATE FINANCIAL RESPONSIBILITY      *      02-05-2024
PAGE 001        *       DISPLAY INMATE FINANCIAL DATA       *      17:22:06

REGNO: 24991-509                                                FUNC: PRT

NAME.: BROCK, LARRY RENDALL




G0002       MORE PAGES TO FOLLOW . . .
           Case 1:21-cr-00140-JDB Document 113-1 Filed 02/07/24 Page 7 of 10
  USACN         *        INMATE FINANCIAL RESPONSIBILITY        *     02-05-2024
PAGE 002 OF 002 *         DISPLAY INMATE FINANCIAL DATA         *     17:22:06

REGNO: 24991-509      NAME: BROCK, LARRY RENDALL
FRP ASGN: COMPLT         DATE OF MOST RECENT PAYMENT:   07-11-2023

-----------------------MOST RECENT PLAN INFORMATION---------------------------
NUMBER: 1                DATE ADDED: 06-16-2023 BY: SPG
STATUS: STOPPED          REASON STOPPED: OTHER

---------------------------MOST RECENT PAYMENT PLAN---------------------------

INMATE DECISION: AGREED        50.00             MONTHLY       TRUST FUND
ANTICIPATED START: 07-2023        ACTUAL START: 07-2023
REASON DECISION STOPPED: OTHER
FOR THE FOLLOWING OBLIGATIONS:
           1    2
--------------------------ALL FINANCIAL OBLIGATIONS---------------------------

  OBLIGATION        AMOUNT IMPOSED         BALANCE       PAYABLE      STATUS
NBR    TYPE

   1 ASSMT                  180.00              0.00    IMMEDIATE    COMPLETEDZ
   2 REST FV               2000.00              0.00    IMMEDIATE    COMPLETEDZ




G0000       TRANSACTION SUCCESSFULLY COMPLETED
           Case 1:21-cr-00140-JDB Document 113-1 Filed 02/07/24 Page 8 of 10
  USACN 540*23 *               SENTENCE MONITORING                 *     02-05-2024
PAGE 001       *                 COMPUTATION DATA                  *     17:23:30
                                 AS OF 02-05-2024

REGNO..: 24991-509 NAME: BROCK, LARRY RENDALL


FBI NO...........:                              DATE OF BIRTH:               AGE:
ARS1.............:
UNIT.............:                              QUARTERS.....:
DETAINERS........: NO                           NOTIFICATIONS: NO

FSA ELIGIBILITY STATUS IS: ELIGIBLE

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.

HOME DETENTION ELIGIBILITY DATE....: 09-22-2024

FINAL STATUTORY RELEASE FOR INMATE.: 03-03-2025 VIA GCT REL
          WITH APPLIED FSA CREDITS.: 90 DAYS
THE INMATE IS PROJECTED FOR RELEASE: 12-03-2024 VIA FSA REL


                 RELEASE AUDIT COMPLETED ON 12-28-2023 BY DSCC
----------------------CURRENT JUDGMENT/WARRANT NO: 010 ------------------------

COURT OF JURISDICTION...........: DIST OF COLUMBIA, DISTRICT CRT
DOCKET NUMBER...................: 21-140 (JDB)
JUDGE...........................: BATES
DATE SENTENCED/PROBATION IMPOSED: 03-17-2023
DATE COMMITTED..................: 05-29-2023
HOW COMMITTED...................: US DISTRICT COURT COMMITMENT
PROBATION IMPOSED...............: NO

                  FELONY ASSESS    MISDMNR ASSESS FINES              COSTS
NON-COMMITTED.:   $180.00          $00.00         $00.00            $00.00

RESTITUTION...:   PROPERTY:   NO   SERVICES:   NO        AMOUNT:    $2,000.00

-------------------------CURRENT OBLIGATION NO: 010 ---------------------------
OFFENSE CODE....: 866      18:1512 OBSTRUCT JUSTICE
OFF/CHG: 18:1512(C)(2)&2OBSTRUCTION OF AN OFFICIAL PROCEEDING&AID/ABET
         18:1752(A)(1)ENTER&REMAIN IN A RESTRICTED BUILDING OR GROUNDS,
         18:1752(A)(2)DISORDERLY&DISRUPTIVE CONDUCT IN A RESTRICTED
         BUILDING OR GROUNDS,40:5104(E)(2)(A)ENTER&REMAIN ON THE FLOOR
         OF CONGRESS.40:5104(E)(2)(D)DISORDERLY CONDUCT IN CAPITOL

 SENTENCE PROCEDURE.............: 3559 PLRA SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE.:    24 MONTHS




G0002       MORE PAGES TO FOLLOW . . .
           Case 1:21-cr-00140-JDB Document 113-1 Filed 02/07/24 Page 9 of 10
  USACN 540*23 *             SENTENCE MONITORING                *   02-05-2024
PAGE 002       *               COMPUTATION DATA                 *   17:23:30
                               AS OF 02-05-2024

REGNO..: 24991-509 NAME: BROCK, LARRY RENDALL


 TERM OF SUPERVISION............:    24 MONTHS
 DATE OF OFFENSE................: 01-06-2021

-------------------------CURRENT COMPUTATION NO: 010 --------------------------

COMPUTATION 010 WAS LAST UPDATED ON 10-13-2023 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 07-21-2023 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 010 010

DATE COMPUTATION BEGAN..........: 05-29-2023
TOTAL TERM IN EFFECT............:    24 MONTHS
TOTAL TERM IN EFFECT CONVERTED..:     2 YEARS
EARLIEST DATE OF OFFENSE........: 01-06-2021

JAIL CREDIT.....................:   FROM DATE      THRU DATE
                                    01-10-2021     01-14-2021

TOTAL PRIOR CREDIT TIME.........: 5
TOTAL INOPERATIVE TIME..........: 0
TOTAL GCT EARNED AND PROJECTED..: 81
TOTAL GCT EARNED................: 0
STATUTORY RELEASE DATE PROJECTED: 03-03-2025
ELDERLY OFFENDER TWO THIRDS DATE: 09-22-2024
EXPIRATION FULL TERM DATE.......: 05-23-2025
TIME SERVED.....................:     8 MONTHS     13 DAYS
PERCENTAGE OF FULL TERM SERVED..: 35.2
PERCENT OF STATUTORY TERM SERVED: 39.6




G0002       MORE PAGES TO FOLLOW . . .
          Case 1:21-cr-00140-JDB Document 113-1 Filed 02/07/24 Page 10 of 10
  USACN 540*23 *             SENTENCE MONITORING             *     02-05-2024
PAGE 003 OF 003 *              COMPUTATION DATA              *     17:23:30
                               AS OF 02-05-2024

REGNO..: 24991-509 NAME: BROCK, LARRY RENDALL



PROJECTED SATISFACTION DATE.....: 12-03-2024
PROJECTED SATISFACTION METHOD...: FSA REL
    WITH FSA CREDITS INCLUDED...: 90

REMARKS.......: 05-29-23 VSD TO SPG D/LMS 10-13-23: GCT UPDT. D/MLM




S0055       NO PRIOR SENTENCE DATA EXISTS FOR THIS INMATE
